   Case: 1:12-cv-01122 Document #: 246 Filed: 06/21/16 Page 1 of 3 PageID #:8895




         IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                  DISTRICT OF ILLINOIS EASTERN DIVISION

 JAMES BRAND, BARRY FARMER,                      )
 MARK GRAHAM, KEVIN JACKSON,                     )
 MICHAEL JACKSON, JOSE VIGIL, and                )
 CHRISTOPHER WOODARD,                            )
                                                 )   Case No. 12-cv-1122
                       Plaintiffs,               )
                                                 )
                v.                               )   Magistrate Judge Young B. Kim
                                                 )
 COMCAST CORPORATION and                         )
 COMCAST CABLE                                   )
 COMMUNICATIONS MANAGEMENT,                      )
 LLC,                                            )
               Defendants.


           PARTIES’ JOINT MOTION FOR APPROVAL OF SETTLEMENT

       Plaintiffs James Brand, Barry Farmer, Mark Graham, Kevin Jackson, Michael Jackson,

Jose Vigil, and Christopher Woodard (“Plaintiffs”) and Defendants Comcast Corporation and

Comcast Cable Communications Management, LLC (“Defendants” or “Comcast”)

(collectively with Plaintiffs, the “Parties”), by and through their undersigned counsel,

respectfully request that this Honorable Court enter an order approving the Parties’ Fair

Labor Standards Act settlement because it represents a fair and reasonable solution of the

Parties’ bona fide dispute. (See Settlement Agreement and Release attached hereto as Exhibit

A).

       As is more fully described in their accompanying memorandum of law, which is

incorporated by reference herein, the Parties respectfully request an order: (1) approving the

Settlement, including the releases of claims, the payments to Plaintiffs, and payment of

attorneys’ fees and costs as set forth therein; (2) dismissing the action in its entirety without

prejudice, which will convert to with prejudice once the settlement is funded by Defendants; and
   Case: 1:12-cv-01122 Document #: 246 Filed: 06/21/16 Page 2 of 3 PageID #:8896




(3) retaining jurisdiction until 31 days after the date this Court approves the Settlement to

enforce the terms of the Settlement, including the release of claims. (See Proposed Order

attached hereto as Exhibit B).


Dated: June 21, 2016                              Respectfully submitted by,


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Case: 1:12-cv-01122 Document #: 246 Filed: 06/21/16 Page 3 of 3 PageID #:8897




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